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                         IN THE UN ITED STATES DISTRICT COURT                     .,
                                                                                 ?.        .               <
                        FOR THE W ESTERN DISTRICT OF VIRGINIA
                                                                                           E
                               CHARLOTTESVILLE DIVISIQN
UN ITED STA TES O F A M ER ICA ,                    CA SE N O .3:120R 00009-3


                                                    REPORT AN D REC OM M EN D ATION
JO HN W ALTER CO LLIER,

              D efendant.                           By: B.W A UG H CRIG LER
                                                        U .S.M A GISTRA TE JU D GE



       ln accordancewiththeprovisionsofTitle28U.S.C.j636(b)(3),anduponthedefendant's
consent,thiscase w as referred to the undersigned to conducta plea hearing.

DEFENDANT'S RESPONSES TO RULE 11INQ UIRY
       The Grand Jury returned a m ultiple-countlndictm entcharging defendantin C ountO ne
with knowingly and intentionally combining,conspiring,and agreeing topossesswith the intentto

distributeandtodistribute:(1)priortoOctober21,2011,amixtureorsubstancecontaininga
detectableam ountofM DM C,M DPV and 4-M EC,controlled substanceanaloguesasdefined in

Title21,UnitedStatesCode,Section 802(32),withintentforhumanconsumptionasprovidedin
Title21,United StatesCode,Section 813,in violation ofTitle21,United StatesCode,Sections

841(a)(1)and(b)(1)(C);and(2)from October21,2011and continuingtothedateoftheindictment,
February 8,2012,a m ixture orsubstance containing a detectable am ountofM D M C and M D PV,

Schedule1controlled substances(byFinalOrderofDEA,76Fed.Reg.65371),and4-M EC,a
controlledsubstanceanalogueasdetinedinTitle21,United StatesCode,Section 802(32),with
intentforhum an consum ption asprovided in Title 2 1,U nited States Code,Section 813,in violation

ofTitle21,UnitedStatesCode,Sections841(a)(1)and (b)(1)(C),a1linviolationofTitle21,United
StatesCode,Section 846,
                      .in C ountFour w ith know ingly and intentionally distributing a m ixture or
substance containing a detectable am otmtofM D PV ,a controlled substance analogue asdefined in

Title21,United StatesCode,Section802(32),knowingthesubstancewasintendedforhuman
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consumption asprovided in Title2l,United StatesCode,Section 813,a11in violation ofTitle 21,

UnitedStatesCode,Sections841(a)(1)and(b)(1)(C);inCountFivewithknowinglyand
intentionally distributing a m ixture or substance containing a detectable am ountofM D PV and
M DM C,controlled substance analogues as defined in Title 21,U nited StatesCode,Section 802

(32),knowingthesubstanceswereintendedforhuman consumptionasprovidedinTitle2l,United
StatesCode,Section 813,allinviolationofTitle21,UnitedStatesCode,Sections841(a)(l)and
(b)(1)(C);andinCountSixwithknowinglyandintentionallydistributing amixtureOrsubstance
containinga detectable am ountof4-M EC,acontrolled substanceanalogueasdefined in Title2l,

UnitedStatesCode,Section802(32),knowingthesubstancewasintendedforhumanconsumption
asprovided in Title 21,United StatesCode,Section 813,a11in violation ofTitle 21,United States

Code,Sections841(a)(1)and(b)(l)(C).Eachcountcarriedpunishmentofupto20years
imprisonmentand/ora$1,000,000fine,plusaterm ofsupervised release.
        O n M ay 7,2012,a plea hearing was conducted before theundersigned. The defendant
 wasplaced underoath and testified thathisfulllegalname isJohn W alterCollier,hewasborn
 on M arch 7,1948,and he m ade itto the eleventh grade in high school. The defendantstated that

 hecan read,write,and understand theEnglish language. Thedefendantfurtherstated thathe
 wasf'
     ullyawareofthenatureofthechargesagainsthim and theconsequencesofpleadingguilty
 to those charges. The defendantinform ed the courtthathe hasa pacem aker,is 100% disabled,

 and regularlytakes28 medicationsforhiscondition.Even so,hestated thathe sufferedno
 condition thatim paired hisability to understand whatthe coul'
                                                              twassaying orthenatureofthe
 proceedings. The defendanttestified thathe had received a copy ofthe Indictm entpending

 againsthim ,and thathe had fully discussed the chargestherein and any defensesthereto,and his

 case in general,with hiscounsel. Thedefendantstated thathe waspleading guilty ofhisown
 free willbecause he was,in fact,guilty. The defendanttestified thathe understood thatCount

 Oneisafelony,andifhispleaisaccepted,hewillbeadjudgedguiltyofthatoffense.The
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defendantacknowledged awarenessthatifhecomplieswith theplea agreem ent,thegovernment

hasagreed to m ove forhisdism issalfrom the rem aining counts ofthe Indictm ent.
       The defendantacknow ledged thatthe m axim um statutory penalty for CountOne is a

$1,000,000 fineand/orimprisom nentforaterm oftwenty years,togetherwith aterm of
supervised release. The defendantw asinform ed thatparole hasbeen abolished,and thatifhe is
sentenced to prison,hewillnotbereleasedon parole,buton supervised release,a violation of
w hich could resultin additionalincarceration. Finally,the defendanttestified thathe understood

that,upon conviction,he willberequired to pay amandatory assessm entof$100perfelony
countofconviction.
       Thedefendantwasinformed thatunderthe Sentencing Reform Actof1984,theUnited

StatesSentencingCommission hasissuedguidelinesforjudgestofollow indeterminingthe
sentence in a crim inalcase. The defendantw asthen inform ed thatthe Sentencing Guidelinesare

nolongermandatory,butthesentencingjudgemayapplythem inan advisoryfashion in
determ ining areasonable sentence. Thedefendanttestifiedthatheand hiscounselhad discussed
how the Sentencing Guidelines m ightapply in his case. The defendantalso testified thathe

understood thattheeourtwould notbe ableto determinetheapplicable guidelinerange,for
advisory purposes,untilaftera presentence reporthasbeen prepared and both partieshave been
given an opportunity to challenge the reported factsand application ofthe Guidelines. The

defendantstated thatheunderstood thattheeventualsentenceim posed may bedifferentfrom
any estim ate his attorney had given him ,orany recom m endation by the governm ent,and thatthe
courthasthe authority to im pose a sentence thatiseitherhigherorlow erthan thatcalled forby
the G uidelines,so long asthe sentence isnotgreaterthan the statutory m axim um forthe offense

to which the defendantispleading guilty.
       The defendantacknow ledged itw as agreed thatthe 2011 edition ofthe U nited States
Sentencing Guidelines M anualis applicable. The defendantfurtheracknow ledged that,in the

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PleaAgreement,ithadbeen stipulatedthatSentencingGuidelines2131.1and381.2(b)are
applicableto hisconduct. The defendantalso stated thatheunderstood thateven ifhefully
cooperateswith law enforcem ent,thegovernmentisunderno obligation to fileamotion to

reduce his sentence for substantialassistance,and ifthe governm entm akesthe m otion,itisup to
the courtto determ ine how m uch ofa departure,ifany,should be m ade. The defendantstated

thatheunderstoodthat,contingentuponhisacceptanceofresponsibility and continued
cooperation in the sentencing process,and fulfillm entofhis dutiesunderthe Plea A greem ent,the

governmentwillrecommendatwo-level(2)reductionunderUSSG j3E1.1(a),and,if
applicable,thegovelmmentwillmovethathebegivenan additionalone-level(1)reduction
underUSSG j3El.1(b).Thedefendantagreedthathehadknowinglyandvoluntarilywaived
hisrightstorequestorreceiveany recordspertaining totheinvestigation orprosecutionofhis
case,including any records thatm ay be soughtunderthe Freedom oflnform ation A ctorthe

Privacy Actof1974. The defendantagreed hewould submitafinancialstatem ent,ifcalled upon
to do so. H e furtheragreed thatfrom the tim e ofhis signing ofthe plea agreem ent,orthe date he
signsthe financialstatem ent,w hicheverisearlier,he w ould notconvey anything ofvalue
w ithoutauthorization from the goverm nent. The defendantacknow ledged hism onetary

obligationsunderthepleaagreement,whichcallsforsuchtobedueimmediatelyandsubjectto
im m ediate enforcem ent.

       Thedefendantacknowledgedthathewaswaivinghisrighttohaveajurydetermine
beyond areasonabledoubtthefactsalleged inthelndictment,including any factsrelated to

sentencing.Thedefendanttestitiedthatheunderstoodthathehadtherighttoatrialbyajury,
in addition tothefollowing rights,whic,
                                      h willbewaivedorgiven up ifhisguiltypleais

accepted'
        .

               The rightto plead notguilty to any offense charged againsthim ;
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       2.      The rightattrialto be presum ed ilm ocentand to force the governm entto prove
               hisguiltbeyond areasonabledoubt;
               Therightofassistance ofcounselattrialand in any subsequentappeal'      ,
               The rightto see,hear,and cross-exam ine w itnesses;
               The rightto callw itnessesto testify on his ow n behalfand to the issuance of
               subpoenas orcom pulsory process to com pelthe attendance ofw itnesses;
       6.      Therightto decline to testify unlesshevoluntarily electsto do soin hisown
               defense;
               Therightto aunanimousguilty verdict;and
               Therightto appeala guilty verdict.

       The defendanttestified thathe understood that,underthe term softhe agreem enthe w as
waivinghisrightsto appeal,butthathewasnotwaiving hisrightto appealorhavehisattorney file a

notice ofappealasto any issue which cannotby 1aw be w aived. The defendantstated he w as aw are
thatthegovenlmenthadretained itsrightsto appeal. Thedefendantacknowledged thathehad
agreed to w aive his rightto collaterally attack any order issued in the case,unless such attack is

based on ineffective assistance ofcounsel.
       Thedefendanttestitied thathe understoodthathe may bedeprived ofvaluable civilrights,

suchastherighttovote,therighttoholdpublicoffice,therighttoserveonajury,andtherightto
possessafireann. The defendantstated thathewassatisfied with theadvice and representation
given to him in this case by his counsel,and thathe believed the representation had been effective.
The defendantasked the courtto accepthisplea ofguilty to CountOne.

TH E G O V ERN M EN T 'S EV IDE NC E

       Theevidencepresentedinthegoventment'sFadualSummaryisasfollows:Theoffensets)
described below occurred withintheW estern JudicialDistrictofVirginia. ThisStatementofFacts

briefly sum m arizesthe factsand circum stances surrounding the defendant'scrim inalconduct. It

doesnotnecessarily contain a11the inform ation obtained during this investigation and applicable to

an accurate Presentence Reportand Sentencing G uidelinescalculation.
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       tsBath Salts''tirstem erged in theUnited Statesapproxim ately two yearsago.Sincethen,the

use ofçûbath salts''has increased dram atically,pm icularly am ong adolescents and young adults,and

has been linked to overdoses,suicides,and deaths throughoutthe United States. A ccording to the

A m erican A ssociation ofPoison ControlCenters,from January 1,2011to D ecem ber2011,poison

controlcentersacrosstheUnited Statesreceived 6,138 callsregarding Sdbath salt''abuse,compared to

302 callsdtlring 2010.

       'sBath salts''arem ixturesofmany differentchem icals,including thosethatresem blecocaine,

m etham phetam ine,and ecstasy.They are classitied assynthetic cathinonesw hich are centralnelwous

system stim ulants.They are chem ically sim ilarto cathinone.a Schedule lcontrolled sttbstance that

occursnaturallyinthekhatplant(Catha edulis).Usersofilbathsalts''typicallysnortthedrugin
powderform oringestthednlginpillform,butsomeusershavebeenknowntosmokeit,orinject
the drug intravenously.A typicaluseramountof('bath salts''isonehalfofa gram to onegram .The

drug hasproven to affectusers in a variety ofw ays,butusers typically experience highs sim ilarto

thoseexperienced afteringestingM DM A orûtecstasy''(heighteningofthesensesand sexual
arousal),andstimulantslikecocaineandmethamphetamine(euphoriaandincreasedenergy).IdBath
salts''havebeen known tohaveanumberofadverseeffects,which includepsychotic episodes,

violentbehavior,delusions,panic attacks,increased heartrate,chestpain,agitation,dizziness,

nausea and vom iting.

       Packets of Ctbath salts''are com m ercially branded with a vmiety ofnam es and are often

labeled Itnotforhum an consum ption''in an effortto circum ventthe federalnarcotics law s. See

attached ExhibitA . D espite these warnings,the sellersof(sbath salts''have m arketed these

substan/esto consum ers as <etleationaldrugs.
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       ln early Aprilof2011,afam ily m emberofan individualaddicted to iibath salts''cam eto the

JeffersonAreaDrugEnforcementTask Force(JADE)officeandnotifieddetectivesthatC'bathsalts''
w ere anew illegaldnzg and w ere being sold and used in the Charlottesville com m unity. The

individualfurtherstatedthatthissubstancehad horriblephysicaland psychologicalside effectsand

wasdestroyinga mem berofherfam ily.JADE followed up with theindividual'sfamilym embers

and developed a plan to attem ptto begin m aking controlled purchasesofthis substance. D etectives
identified the C 'ville V ideo Store located on 5thstreetin Charlottesville, V irginia asa location

selling Etbath salts.'' Priorto thisinvestigation there had been no state or federalinvestigationsin the

Charlottesville area concerning tibath salts.'' JAD E,utilizing a confidentialinform ant,m ade a series

ofcontrolledbuysfrom the C'villeVideo Store.JADE sentthepurchased substancesto thestate lab

in an attemptto docum entthe chem icalcomposition and determineitslegality. The substancesin

the(tbath salts''packagespurchased by theJADE inform antwereidentitied by achemistatthe

D ivision ofForensic Science as:3,4-M ethylenedioxypyrovalerone,which iscom m only referred to as

M DPV;4-M ethyl-ethylcathinone,which iscom monly referred to as4-M EC,
                                                                     'and 3,4-

M ethylenedioxym ethcathinone,w hich is com m only referred to as M ethylone orM DM C .

       A tthatpoint,afterconsulting w ith the Charlottesville Com m onw ealth Attorney's Office,

JADE soughttheassistanceoftheFederalDrugEnforcementAdministration (DEA)andtheUnited
StatesAttorney'sOffice fortheW estern DistrictofVirginiaform oreinformation on thesubstances

and how theinvestigation should proceed.Because ofthethreatto public safety,adecision was

m adeto com m itfederalresourcesto the investigation and attem ptto determ ine from wherethe <kbath

salts''sold from the C'ville V ideo Store were com ing from .

       The subsequentinvestigation revealed thatLois Lee M cD anielowns and operatesthe C'ville
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video store located on 5thStreetin Charlottesville, Virginia. Shortly afterpurchasing thevideo

store in 2011,she began selling isbath salts.''M cD anielpurchased the tobath salts''from a supplierin

New Yort.ThesupplieradvertisedhimselfasasellerofCkbath salts''ontheinternet.McDaniel
would callthesupplier'scellphonenum berto place ordersforGébath salts.''Thesupplierwould

inform M cD anielw hich varietiesofCtbath salts''he had in stock,and she w ould choose from the

differentproductoptions when ordering. The supplier often described w hich typesofhis current

productoptionsprovided thebesthigh orwhich onemostresem bled otherdrugs,including cocaine

and ecstasy. M cD anielhad the suppliersend the shipm entsofutbath salts''to the C 'ville V ideo Store

viaFederalExpress. M cDanielwould then send amoney orderfrom theFood Lion grocery store

located nextto C 'ville V ideo on 5thstreetto the supplierin N ew Y ork. John CO LLIER and one

otherindividualhelped M cD anielatthe video store and w ere involved in controlled purchasesby

JA DE confidentialinform ants.

       Specifically,betw een April20l1and A ugust201l,JAD E,w ith the assistance ofD EA -

Riehmond,conduded fiveseparateeontrolled çtbath salts''buysfrom thevideo store.Thesebuys

wereconducted on April21,2011(1.092gramsofMDPV),April25,20l1(0.299gramsofM DPV),
M ay2,2011(0.917gramsofMDPV),July25,2011(3.3gramsofM DPV,0.88gramsof4-M EC,
and 0.83gramsofM ethyloneorM DM C),andAugust11,201l(1.25gramsofM DPV).Al1
transactions w ere captured on audio and video recording equipm ent.

       Under Federallaw ,these three substances,M D PV ,M DM C,and 4-M EC,were notSchedule l

controlled substancesatthetime ofthesecontrolled buys.W hen asubstancedoesnotappearonthe

DEA controlled substance list,itispossible thatsuch substanceiscontrolled substance analogue.

Title 21 United StatesC ode Sed ion 813,statesthatita controlled substance analogue shall, to the



                                                  8
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extentintended forhuman consumption,betreated,forthepum osesofany Federal1aw asa

controlled substance in schedule 1.5' A substance isa controlled substance analogue according to

Title21UnitedStatesCodeSection 802(32)if-
               (i)thechemicalstructureofwhichissubstantiallysimilartothechemical
       strudure of a controlled substance in schedule lor11.
                                                           ,and

               (ii)whichhasastimulant,depressant,orhallucinogeniceffectonthecentral
       nervous system thatis substantially sim ilarto orgreaterthan the stim ulant,

       depressant,orhallucinogenic effecton the centralnervous system ofa

       controlled substance in schedulelor11.
                                            ,or

               (iii)withrespecttoaparticularperson,which suchpersonrepresentsor
       intendsto have a stim ulant,depressant,orhallucinogenic effecton the central

       nervoussystem thatissubstantially sim ilarto orgreaterthan the stimulant,

       depressant,or hallucinogenic effecton the centralnervous system ofa

       controlled substance in schedule Ior1I.

       A llsubstances from the tive controlled buys w ere sentto the DEA lab in B altim ore,

M aryland. In declarations dated February 1,2012,Thom asDiBerardino,Ph.D ,a DEA chem ist,

found thatthe chem icalstructureofthesubmitted M DPV and 4-M EC wassubstantially similarto

the chem icalstnzcture ofm ethcathinone,a Schedule 1controlled substance. He also found thatthe

chem icalstructure ofthe subm itted M DM C w as substantially sim ilarto the chem icalstructure of

M DM A (commonlyreferredtoasecstasy),aSchedule1controlledsubstance.Additionally,in
declarations dated February 6,2012,CassandraPrioleau,Ph.D .,a D EA Drug Scienee Specialist,

found thatthe pharm acologicaleffectson a user'scentralnervous system ofthe subm itted M D PV


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and 4-M EC wassubstantially similarorgreaterthan thepharmacologicaleffectson auser'scentral

nenrussystem ofmethcathinone,a Schedule Icontrolled substance. She also found thatthe

pharm acologicaleffects on a user's centralnervous system ofthe subm itted M D M C w as

 substantially sim ilaror greaterthan the pharm acologicaleffects on a user'scentralnervoussystem of

M DMA (commonlyreferredtoasttecstasy''),aScheduleIcontrolledsubstance.
        M cD aniel,along w ith John W alterCO LLIER and one other individual,w ould sellthe libath

 salts''outofthe C'VilleVideo Storefrom behindthecounter.COLLIER wasnotan em ployeeof

the video store;he w asthere to assisthisfriend Lois M cDanielwhen she needed help. H e doesnot

 work because he isa recipientofsocialsecurity disability benefitsand being atthe store provided

him w ith som ething to do each day. The transactionsw ere typically notrun through the cash

register. The productwas firstlocated on top ofthe counterin a display case butw as laterm oved

 underthe counterin a bag in a trash can to concealitspresence. CO LLIER knew the tsbath salts''

 werem oved underthe counterand into the trash can. CO LLIER w as involved in two controlled

 salesto JADE confidentialinform ants.

        The tw o controlled salesto JAD E confidentialinform antsthatC OLLIER participated in

 occurred w hen M cD anielwasnotpresentatthe store,although the inform ants had earliercontacted

 M cD anielby telephone to arrange a sale. Usually,CO LLIER w ould callLois M cD anielon hercell

phoneto ask aboutselling Ctbath salts''to individualsthatcam e into the store. The firstcontrolled

purchasethatCO LLIER was involved in w as M ay 2,2011. On thatdate,C OLLIER sold 0.917

 gram s ofM D PV to a JAD E confidentialinform ant. The second controlled buy occurred on July 25,

2011. O n thatdate,CO LLIER sold 3.3 gram sofM DPV ,0.88 gram sof4-M EC,and 0.83 gram s of

M D M C . Both ofthese controlled ptlrchasesw ere captured by audio and video recordings.



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        During an interview conducted by JADE detectives,COLLIER identified him selfand one

 otherindividualin photographsfrom thecovertvideo ofthecontrolledpurchaseson M ay 2,2011

 and July 25,2011. H e adm itted to detectivesthathe sold the tçbath salts''from the store,and thathe

 knew custom ersused them to gethigh. CO LLIER also stated thathe did notreceive any ofthe

 proceedsofthe drugs sales.

        In total,John COLLIER w asinvolved in the distribution of5.927 gram sofcontrolled

 substance analogues.

 FIND IN G S O F FA C T
        Based on the evidence presented atthepleahearing,the undersigned now subm itsthe

 follow ing form alfindings offact,conclusions and recom m endations:
         The defendantis fully com petentand capable ofentering into a plea agreem entand

        m aking an inform ed plea;
         The defendantisaw are ofthe nature ofthe chargesand the consequences ofhis
        plea;
         The defendantknow ingly and voluntarily entered a plea ofguilty to CountO ne of

        the Indictm ent;and

    (4) Theevidencepresentsanindependentbasisinfactcontainingeachoftheessential
        elem entsofthe offense to w hich the defendantispleading guilty.
 RE CO M M END ED DISPO SITIO N

        Based upon the above findings offact,the undersigned R ECO M M EN D S thatthe court

 acceptthedefendant'spleaofguilty to ColmtOne ofthelndictm ent.Theundersigned DIRECTS
 thata presentence reportbeprepared. A sentencing hearing hereby isscheduled forJuly 26,2012 at
 10:30 a.m .before the presiding D istrictJudge in Charlottesville.
N O TIC E TO PA R TIE S
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        Noticeisherebygiventothepartiesoftheprovisionsof28U.S.C.j636(b)(1)(C):W ithin
 fourteen days(14)afterbeingservedwith acopyofthisReportandRecommendation,anyparty
 may serveandfilewrittenobjectionstosuchproposedfindingsandrecommendationsasprovided
 by rules ofcourt. The presiding D istrictJudge shallm ake a de novo determ ination ofthose portions

 of1hereportorspecitiedproposedfindingsorrecommendationstowhichobjectionismade.The
 presidingDistrictJudgemay accept,reject,ormodify,inwholeorinpart,thetsndingsor
 recommendationsmadebytheundersigned.Thejudgemay alsoreceivefurtherevidenceor
 recom m itthe m atlerto the undersigned w ith instrudions.

        Failtlretofiletimelywrittenobjectionstotheseproposedfindingsandrecommendations
 w ithin fourteen dayscould w aive appellate review . Atthe conclusion ofthe fourteen-day period,the
 Clerk isdirected to transm itthe record in thism atterto the presiding U nited States DistrictJudge.
        TheClerkishereby dirededto send acertified copy ofthisReportand Recomm endationto

 allcounselofrecord.

                                              z'    -
                       EN TERED :
                                          ited StatesM agistrate Judge


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                                                          #' g+2
